                        Case 1-25-42346-nhl                 Doc 10   Filed 06/13/25     Entered 06/13/25 10:58:59


  Information to identify the case:

  Debtor 1:
                         Misba Abdin                                           Social Security number or ITIN:   xxx−xx−2048
                                                                               EIN: _ _−_ _ _ _ _ _ _
                         First Name   Middle Name   Last Name

  Debtor 2:                                                                    Social Security number or ITIN: _ _ _ _
                         First Name   Middle Name   Last Name
  (Spouse, if filing)                                                          EIN: _ _−_ _ _ _ _ _ _
  United States Bankruptcy Court:         Eastern District of New York         Date case filed for chapter:       13     5/15/25

  Case number:            1−25−42346−nhl


                                      FINAL NOTICE OF SECTION 521 DEFICIENCIES

NOTICE IS HEREBY GIVEN THAT:

One or more deficiencies remain regarding the document(s) indicated below. Under § 521(i)(1) of the Bankruptcy Code,
these documents are required to be filed no later than 45 days from the filing of the petition.


                   Notice Required by 11 U.S.C. §342(b) of the Bankruptcy Code for Individuals Filing for Bankruptcy
                   (Official Form 2010) − Part 7 of Voluntary Petition Not Signed
                   Schedule A/B
                   Schedule D
                   Schedule E/F
                   Schedule I
                   Schedule J
                   Statement of Financial Affairs
                   Statement of Your Current Monthly Income and Means Test Calculation
                   Copies of Pay Statements received within 60 days prior to the date of filing


Failure to file the required documents within 45 days of the date of filing of the petition may result in the case being
dismissed without further notice or hearing, unless an extension of time under § 521(i)(3) or (4) of the Bankruptcy Code is
made.


Dated: June 13, 2025

                                                                                For the Court, Paul Dickson, Clerk of Court




 GTntcdef521a3.jsp [Final Deficiency Notice rev. 02/01/17]
